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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                                        Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                                              Case No. 15-23007 (RDD)
COMPANY, INC., et al.,1
                                                                              (Jointly Administered)
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                                              Adv. Proc. No. 18-08245 (RDD)
COMPANY, INC., et al.,

                                 Plaintiff,

           v.

PEPSICO, INC; BOTTLING GROUP, LLC
(d/b/a PEPSI BEVERAGES COMPANY and
f/d/b/a THE PEPSI BOTTLING GROUP);
FRITO-LAY NORTH AMERICA, INC.;
PEPSI-COLA METROPOLITAN BOTTLING
COMPANY, INC.; PEPSI-COLA
HASBROUCK HEIGHTS; PEPSI-COLA
BOTTLING COMPANY; QUAKER SALES
AND DISTRIBUTION, INC.; MULLER
QUAKER DAIRY, LLC; STACY’S PITA
CHIP COMPANY, INC.; and PEPSI
BOTTLING GROUP, NJ; and PEPSI USA,

                                 Defendants.

                                    STIPULATION AND ORDER EXTENDING
                                      TIME TO RESPOND TO COMPLAINT

           IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for the parties to this adversary proceeding, that the above-named Defendants’ time to


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as follows: 2008
Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company, Inc. (0974); A&P Live Better, LLC (0799); A&P Real Property, LLC
(0973); APW Supermarket Corporation (7132); APW Supermarkets, Inc. (9509); Borman’s, Inc. (9761); Delaware County Dairies, Inc. (7090);
Food Basics, Inc. (1210); Kwik Save Inc. (8636); McLean Avenue Plaza Corp. (5227); Montvale Holdings, Inc. (6664); Montvale-Para Holdings,
Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge LLC (5965); Shopwell, Inc.(3304); Super Fresh Food Markets, Inc.
(2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods of Conn., Inc. (5748); and Waldbaum, Inc. (8599). The international
subsidiaries of The Great Atlantic & Pacific Tea Company, Inc. are not debtors in these chapter 11 cases. The location of the Debtors’ corporate
headquarters is 19 Spear Road, Suite 310, Ramsey, New Jersey 07446.
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answer, move, or otherwise respond to the First Amended Complaint, filed April 23, 2018, is

hereby extended through July 25, 2018.

Dated: June 18, 2018


/s/ David N. Crapo                                /s/ Jeffrey Chubak
David N. Crapo                                    Jeffrey Chubak
Philip J. Duffy                                   STORCH AMINI PC
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                                                  Attorneys for Defendants

SO ORDERED this 19th day of June, 2018


/s/Robert D. Drain
Honorable Robert D. Drain
United States Bankruptcy Judge




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